           Case 1:18-cr-00036-JPO Document 502 Filed 01/12/21 Page 1 of 1




December 21, 2020

Via ECF

Honorable J. Paul Oetken
United States District Judge
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

Re:      United States v. Cynthia Holder, et al.
         Request for Return of Passport
         No. 18-cr-00036 (JPO)

Dear Judge Oetken:

We represent defendant Cynthia Holder in the above-captioned case. We write to request that the Court
order the release of Ms. Holder’s passport by the United States Pretrial Services Office. On September
13, 2019, Ms. Holder was sentenced to eight months imprisonment, two years of supervised release, and
restitution to be ordered at a later date. She has completed her term of imprisonment and is complying
with the terms of her supervised release. Assistant United States Attorney Jordan Estes has informed us
that the government does not object to our request.

A so-ordered block follows this letter. Thank you for your consideration of this matter.


Respectfully,

/s/ Emily J. Mathieu

cc: All counsel of record via ECF



BY THE COURT:

The Defendant’s request for the return of her passport is GRANTED. The United States Pretrial
Services Office is hereby ORDERED to release Ms. Holder’s passport.


DATED:            New York, New York                             ______________________________
                  Jan. 12, 2021                                  HON. J. PAUL OETKEN
                                                                 UNITED STATES DISTRICT JUDGE


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